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        Exhibit A




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        Exhibit B




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                          BUSINESS, CONSUMER SERVICES, AND HOUSING AGENCY • GAVIN NEWSOM, GOVERNOR
                          Bureau of Cannabis Control

                                             | www.bcc.ca.gov



Via Email

January 21, 2020

DEA ICDO
ATTN: Special Agent John T. Chase




RE: Case No.                - Subpoena No. R6-20-252406


Special Agent Chase,

The Bureau of Cannabis Control (Bureau) has received the U.S. Department of
Justice/Drug Enforcement Administration Subpoena, In the matter of the investigation of
Case No.               , Subpoena N. R6-20-252406 (Subpoena). The Subpoena
requests all unredacted cannabis license(s), unredacted cannabis license
applications(s), and unredacted shipping manifest(s) from January 1, 2018 to present
for Bureau licensees
                                . The Bureau objects to the subpoena and will not
produce the requested documents as the subpoena does not specify the relevancy of
the subpoena and requests information that is confidential, protected from disclosure,
and part of pending licensing application investigations.

First, an administrative subpoena must seek records that are relevant to the
subpoenaing agency investigation. (21 U.S.C. § 876(a); U.S. v. Golden Valley Elec.
Ass’n (9th Cir. 2012) 689 F.3d 1108.) In this instance, the Subpoena only states that the
information sought is “relevant and material to a legitimate law enforcement inquiry.”
This fails to meet the appropriate standard of establishing that the records are in fact
relevant to this particular investigation.

Additionally, the subpoena seeks information that is confidential and not subject to
disclosure. Application materials contain private personal identifying information, such
as social security numbers, dates of birth, personal contact information, bank account
details, loan and investment disclosures, revenue information, insurance information,
vehicle information, and criminal history information. This information is protected by the
right to privacy and California Civil Code section 1798.24. A California state agency may
not disclose any personal information in a manner that would link the information
disclosed to the individual to whom it pertains. In addition to state law protections,
federal law limits disclosure of taxpayer return information, including taxpayer identifying
number, by a state officer or employee. (26 U.S.C. §6103; Cal. Gov. Code § 6254(n).)
The Bureau also receives criminal history information as part of its licensing process,
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To: Special Agent John T. Chase
Date: January 21, 2020
RE: Case No.             - Subpoena No. R6-20-252406


which is governed by California Penal Code section 11142. This section provides that
any person authorized by law to receive state summary of criminal history information
who furnishes that information to anyone not authorized by law to receive it is guilty of a
misdemeanor. The application information is utilized for the Bureau to investigate
whether the person and premises location are suitable for licensure; thus, are part of
pending investigations.

In addition to the personal information provided to the Bureau, an applicant or licensee
must provide procedures for the business and a diagram of the businesses premises.
These operating procedures contain information concerning trade secrets or other
proprietary information protected from disclosure. Additionally, both the procedures and
diagram of the premises contain information that could impact the security of the
business. (Cal. Gov. Code, § 6254, subds. (f) and (k) [incorporating Evid. Code, § 1060
protections of trade secrets].)

Further, shipping manifests for cannabis licensees are confidential pursuant to
California Business and Professions Code section 26067, subdivision (b)(6). These
shipping manifests are part of the track and trace program used to follow the movement
of cannabis goods through the regulated supply chain; thus, subject to the
confidentiality provisions for information maintained as part of that system.

Thank you for your cooperation. If you would like to further discuss this matter, please
contact me at                .


Sincerely,


Attorney III
